         Exhibit 1




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From:                                  Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent:                                  Friday, February 25, 2022 10:53 AM
To:                                    Moye, John; Duncan Byers
Cc:                                    Shores, Andrew; Carla Veals
Subject:                               [EXTERNAL]RE: Terracino v. Trimaco, Inc.



John – Plaintiffs won’t be amending the Complaint at this time. Best, Rob

Robert C. Van Arnam
T 919.981.4055

From: Moye, John <JMoye@btlaw.com>
Sent: Thursday, February 24, 2022 1:00 PM
To: Duncan Byers <dbyers@PWHD.com>; Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>; Carla Veals <cveals@pwhd.com>
Subject: RE: Terracino v. Trimaco, Inc.

Thanks. I will be in the office in the morning‐ feel free to call me after your discussion with the client.

John Moye | Partner
Barnes & Thornburg LLP
3475 Piedmont Road N.E.
Suite 1700, Atlanta, GA 30305
Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




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From: Duncan Byers <dbyers@PWHD.com>
Sent: Thursday, February 24, 2022 12:20 PM
To: Moye, John <JMoye@btlaw.com>; Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>; Carla Veals <cveals@pwhd.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.

Unfortunately our schedules didn’t offer time today but we are speaking first thing in the morning. I will get back to you
immediately afterwards.

                               Duncan G. Byers, Partner
                               PATTEN, WORNOM, HATTEN & DIAMONSTEIN, L.C.

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If you are not in a position to serve today, we would like to get a stipulated agreement in place by the end of the day
that the response deadline for all three defendants will be 28 days from today, i.e. March 24, 2022, so that we have time
to prepare our responses—whether to the original complaint or the “new” one.

I look forward to hearing from you. Thanks.

John Moye | Partner
Barnes & Thornburg LLP
3475 Piedmont Road N.E.
Suite 1700, Atlanta, GA 30305
Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




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From: Duncan Byers <dbyers@PWHD.com>
Sent: Friday, February 18, 2022 5:03 PM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>; Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>; Carla Veals <cveals@pwhd.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.
Importance: High

All –

Apologies; I got bogged down on last – minute matters. You will have the Amended Complaint no later than Tuesday.

                               Duncan G. Byers, Partner
                               PATTEN, WORNOM, HATTEN & DIAMONSTEIN, L.C.
                               12350 Jefferson Avenue, Suite 300
                               Newport News, Virginia 23602
                               Direct: 757-223-4474
                               Fax: 757-249-3242
                               Email: dbyers@pwhd.com
                               Website: www.pwhd.com

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Case 5:22-cv-00015-FL Document 20-1 Filed 05/09/22 Page 6 of 14
To: Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.

John – I’ll follow up with co-counsel on the amendment. I also understood that your side was going
to get back to us on sharing information and revenue numbers. Can you check on that. As for
service, I’m not sure what happened there other than the process server might have kept making
attempts. We will ensure they know service has been made. Rob

Robert C. Van Arnam
T 919.981.4055

From: Moye, John <JMoye@btlaw.com>
Sent: Monday, February 14, 2022 4:44 PM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: RE: Terracino v. Trimaco, Inc.

Hi Rob—

I wanted to follow up on the below.

On our call earlier this month, you indicated that your clients would be filing an amended complaint. Do you still intend
to do so, and if so, when can we expect to receive it? If you will not be amending then we need to file a Consent Motion
allowing all defendants through March 23 to answer, as agreed below. Please let me know the status.

In addition, I understand that one of the individual defendants may have been served last week. Given that we
indicated that we would be accepting service for Messrs. Cobaugh and May, I am not clear why your client appears to be
taking steps to serve them directly.

I look forward to hearing from you. Thanks.

John Moye | Partner
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3475 Piedmont Road N.E.
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From: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent: Monday, January 31, 2022 1:55 PM

                                                                    6
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To: Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.

Ok thanks. I just heard from my co-counsel. We consent to the extension such that a response from
all defendants that you represent will be due by March 23. Lets set up a call soon to discuss any
opportunities for settlement.

Thanks,
Rob

Robert C. Van Arnam
T 919.981.4055

From: Moye, John <JMoye@btlaw.com>
Sent: Monday, January 31, 2022 1:50 PM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: RE: Terracino v. Trimaco, Inc.

Thanks. It will be my colleague Deborah Pollack‐Milgate. She will be entering an appearance soon.

https://btlaw.com/people/deborah‐pollack‐milgate

I look forward to hearing back from you on the proposed extension. Thanks again.

John Moye | Partner
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Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




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From: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent: Monday, January 31, 2022 1:08 PM
To: Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.

John – Thanks for the call. You mentioned a co-counsel. Can you identify who that is. Thanks, Rob

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Robert C. Van Arnam
T 919.981.4055

From: Moye, John <JMoye@btlaw.com>
Sent: Monday, January 31, 2022 11:06 AM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: RE: Terracino v. Trimaco, Inc.

Thanks. 404‐264‐4006

John Moye | Partner
Barnes & Thornburg LLP
3475 Piedmont Road N.E.
Suite 1700, Atlanta, GA 30305
Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




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From: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent: Monday, January 31, 2022 11:04 AM
To: Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: [EXTERNAL]RE: Terracino v. Trimaco, Inc.

Hi John. I’ll give you a call now. What’s the best number to reach you?

Rob

Robert C. Van Arnam
T 919.981.4055

From: Moye, John <JMoye@btlaw.com>
Sent: Monday, January 31, 2022 10:18 AM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: RE: Terracino v. Trimaco, Inc.

Hi Rob—let me know if you have a moment to chat about this case (and the below) sometime today. I am generally
around, other than 3‐4 pm. Thanks much.



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John Moye | Partner
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Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




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From: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent: Thursday, January 27, 2022 6:10 PM
To: Moye, John <JMoye@btlaw.com>
Cc: Shores, Andrew <ashores@williamsmullen.com>
Subject: [EXTERNAL]Re: Terracino v. Trimaco, Inc.

John - I presume you also represent the individual defendants who I understand have been traveling. Will you
accept service on their behalf?

Rob

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From: Moye, John <JMoye@btlaw.com>
Sent: Thursday, January 20, 2022 4:49:11 PM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Subject: RE: Terracino v. Trimaco, Inc.

Thanks, Rob. Appreciate the fast response. We will file a short consent motion with the Court.

Look forward to working with you as well.

Best‐

John Moye | Partner
Barnes & Thornburg LLP
3475 Piedmont Road N.E.
Suite 1700, Atlanta, GA 30305
Direct: (404) 264‐4006 | Mobile: (919) 802‐4436




                                                                    9
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From: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Sent: Thursday, January 20, 2022 4:29 PM
To: Moye, John <JMoye@btlaw.com>
Subject: [EXTERNAL]Re: Terracino v. Trimaco, Inc.

Hi John. Long time. I’m sorry for the delay as I was traveling. Plaintiffs consent to the extension. I look forward
to working with you on this case.

Best,
Rob

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From: Moye, John <JMoye@btlaw.com>
Sent: Thursday, January 20, 2022 11:36:35 AM
To: Van Arnam, Robert C. <rvanarnam@williamsmullen.com>
Subject: Terracino v. Trimaco, Inc.

Good morning Rob—

Nice to connect with you. I think I briefly intersected with you in a past life when you were at Hunton and I was at
Kilpatrick as an associate. That was many years ago.

In any event, I am counsel for Trimaco, Inc., who is named as a defendant in the case you filed in the EDNC. Currently, I
only represent Trimaco and do not represent the individually named defendants or 2300 Gateway, LLC.

By my calculation, Trimaco’s responsive filing in this case is due Thursday, February 3. I have just recently been engaged
and, given the factual and legal complexities of the case, it will take us some time to get up to speed on the issues and
file our responsive submission.

Accordingly, we intend to request a 30 day extension, through March 7, to file our responsive pleading in this
case. Please let me know if your client will consent to this request and we will prepare a short motion to the Court
advising Judge Flanigan of same.

I am available to discuss as needed. Many thanks.

John Moye | Partner
Barnes & Thornburg LLP
4208 Six Forks Road, Suite 1010
Raleigh, NC 27609

3475 Piedmont Road N.E.

                                                                    10
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